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MINUTE ENTRY
AFRICK, J.
January 29, 2018
JS-10: 00:30
                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA

LASHAWN JONES, ET AL.                      CIVIL ACTION NO. 12-859
                                           C/W 12-138

VERSUS                                     SECTION “I” (1)

MARLIN GUSMAN, ET AL.                      REF: 12-859



          The Court today accepted the resignation of Gary

Maynard as the Independent Jail Compliance Director for the

Orleans Parish Sheriff's office, with gratitude for the service

he has rendered since October 2016.      While there has been some

improvement in compliance over the course of Director Maynard’s

tenure, the Court is nonetheless dissatisfied with the pace of

reform and lack of compliance relating to numerous mandates of

the consent decree.    The level of violence at the jail, number

of suicides and attempted suicides, lack of timely and

meaningful healthcare, delay in completion of required written

policies, incidences of incomplete reporting, and lack of

accessible mental healthcare, especially among female inmates

with acute mental-health issues, is unacceptable.

     The problems facing the Orleans Parish Justice Center are

not incapable of being remedied.      The Court is firmly convinced
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that, with the assistance of the monitors, dedicated corrections

staff, and the parties, the outstanding compliance issues will

be resolved.   The Court intends that assurances made but not yet

realized will be realized sooner, as opposed to later.

     Moving forward, IT IS ORDERED that Darnley R. Hodge, Sr.,

presently the Correctional Practice Monitor, be appointed

Acting Compliance Director, effective Monday, February 19, 2018.

Mr. Hodge's wealth of experience, professional background and no

nonsense approach, his more than forty years of experience in

law enforcement, jail operations, military and consulting

services, and his dedication to achieving compliance with the

consent decree will assist the parties and the Court in reaching

the compliance goal.

          The Court once again expresses its sincere gratitude

to the brave and dedicated correctional officers and staff who

serve this community.    The Court joins them in their desire to

maintain a correctional facility that meets the mandates of the

U.S. Constitution.

          New Orleans, Louisiana this 29th day of January, 2018.




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                                     LANCE M. AFRICK
                                     UNITED STATES DISTRICT JUDGE
